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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

 

 

CATHERINE M. STORMS, Individually and
as Personal Representative of the Estate of
RICHARD G. GESTEWITZ, JR.

2051 East Hagert Street

Philadelphia, PA 19125

and

RICHARD G. GESTEWITZ, IT, Surviving
Son of Richard G. Gestewitz, Jr.

339 Cather Avenue CIVIL ACTION NO.
Charlestown, Maryland 21914

and

RICHARD G. GESTEWITZ, SR., Surviving
Father of Richard G. Gestewitz, Jr.

339 Cather Avenue

Charlestown, Maryland 21914

Plaintiffs

Vv.

KIMBERLY ANN MORGAN
2120 Concord Road
Chester, Pennsylvania 19013

and

UNITED SERVICES AUTOMOBILE
ASSOCIATION

P.O. Box 26001

Daphne, AL 36526

SERVE: Alfred W. Redmer, Jr.
Maryland Insurance Commissioner
200 St. Paul Place, Suite 2700
Baltimore, Maryland 21202

 

Defendants

 

 

 
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COMPLAINT AND ELECTION FOR JURY TRIAL

Plaintiff, Catherine M. Storms, individually and as Personal Representative of the Estate
of Richard G. Gestewitz, Jr., Richard G. Gestewitz, III, surviving son of Richard G. Gestewitz,
Jr., and Richard G. Gestewitz, Sr., surviving father of Richard G. Gestewitz, Jr., by their
attorneys, Paul D. Bekman and Bekman, Marder & Adkins, L.L.C., sue Kimberly Ann Morgan
and United Services Automobile Association (hereinafter “USAA”).

1. Plaintiff, Catherine M. Storms, is a resident of the state of Pennsylvania.

2. Plaintiff, Richard G. Gestewitz, III, is a resident of the state of Maryland.

3. Plaintiff, Richard G. Gestewitz, Sr., is a resident of the state of Maryland.

4, Defendant, Kimberly Ann Morgan, is a resident of the state of Pennsylvania.

5. Defendant, USAA, regularly conducts business in Maryland, where it provides to
the public automobile insurance.

6. This Court has jurisdiction over this matter, pursuant to 28 U.S.C. Section 1331,
as there is diversity of citizenship between the parties and the amount of this claim exceeds
Seventy Five Thousand Dollars ($75,000.00).

COUNTI

7. On October 16, 2018, the Decedent, Richard G. Gestewitz, Jr., was operating a
motor vehicle in a careful and prudent manner, and was proceeding in a southbound direction on
Augustine Herman Highway (MD 213), near its intersection with Spears Hill Road in Cecil
County, Maryland, when suddenly, violently, and without warning, a vehicle operated by the
Defendant, Kimberly Ann Morgan, who was headed northbound on Augustine Herman Highway

(MD 213), negligently and recklessly crossed the center line and collided with the Decedent’s

 
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vehicle. This collision caused Decedent’s vehicle to travel into the northbound lane and overturn

several times and was subsequently struck again by another vehicle.

8. The Defendant, Kimberly Ann Morgan, was negligent and careless with respect to

the aforesaid occurrence in that she:

(a) failed to maintain proper control over her vehicle;

(b) failed to observe the southbound vehicle on Augustine Herman Highway;

(c) failed to keep a proper lookout;

(d) failed to avoid a collision;

(e) failed to observe the presence and proximity of other vehicles on
Augustine Herman Highway;

(f) operated the vehicle at a speed greater than reasonable under the
circumstances then and there existing;

(g) failed to keep her vehicle to the right of the center line;

(h) and was in other respects negligent and careless.

9, As a direct result of the aforesaid carelessness and negligence of the Defendant,

Kimberly Ann Morgan, the Decedent, Richard G. Gestewitz, Jr., suffered pre-impact fright, was

trapped in his vehicle, and suffered serious and fatal injuries and severe pain and suffering.

10. Allofthe Decedent, Richard G. Gestewitz, Jr.’s injuries and damages were

caused solely by the action of the Defendant, Kimberly Ann Morgan, without any negligence on

the part of the Decedent thereunto contributing.

WHEREFORE, the Plaintiff, Catherine M. Storms, as personal representative of the

Estate of Richard G. Gestewitz, Jr., claims damages in an amount exceeding $75,000.00 against

the Defendant, Kimberly Ann Morgan, to be determined by a jury, with all interest and costs to

 
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be paid by the Defendant.
COUNT Il
(Catherine M. Storms - Wrongful Death)

11. The Plaintiff, Catherine M. Storms, incorporates paragraphs 1 through 10 of the
Complaint as if they were fully set forth at length herein.

12. That at the time of the death of the Decedent, Richard G. Gestewitz, Jr., the
Plaintiff, Catherine M. Storms, was an adult child of the Decedent.

13. That asa direct result of the negligence of the Defendant, the Plaintiff, Catherine
M. Storms, individually suffered severe mental anguish, and emotional pain and suffering, and
has lost and has been deprived of the society, companionship, comfort, protection, care,
attention, advice, counsel, and support which the Decedent, Richard G. Gestewitz, Jr., rendered
while alive and could have and would have continued to afford and render had he continued to
live.

14. By reasons of the negligence of the Defendant which culminated in the death of
the Decedent, a cause of action has accrued in accordance with the Annotated Code of Maryland
Courts and Judicial Proceedings, §3-901 et seq to the Plaintiff, Catherine M. Storms, as a
surviving child of the Decedent, for compensation to her for all of the damages, injuries, and
losses past, present, and future which she has sustained, is sustaining, and will in the future
sustain, all of which were proximately caused by the negligence and carelessness of the
Defendant without any negligence on the part of the Plaintiff or the Decedent thereunto
contributing.

WHEREFORE, the Plaintiff, Catherine M. Storms, as a surviving child of Richard G.

Gestewitz, Jr., deceased, claims damages in an amount exceeding $75,000.00 against the

 
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Defendant, Kimberly Ann Morgan, to be determined by a jury, with all interest and costs to be
paid by the Defendant.
COUNT Ill
(Richard G. Gestewitz, III - Wrongful Death)

15. The Plaintiff, Richard G. Gestewitz, III, incorporates paragraphs 1 through 10 of
the Complaint as if they were fully set forth at length herein.

16. That at the time of the death of the Decedent, Richard G. Gestewitz, Jr., the
Plaintiff, Richard G. Gestewitz, III, was an adult child of the Decedent.

17. That as a direct result of the negligence of the Defendant, the Plaintiff, Richard G.
Gestewitz, III, individually suffered severe mental anguish, and emotional pain and suffering,
and has lost and has been deprived of the society, companionship, comfort, protection, care,
attention, advice, counsel, and support which the Decedent, Richard G. Gestewitz, Jr., rendered
while alive and could have and would have continued to afford and render had he continued to
live.

18. By reasons of the negligence of the Defendant which culminated in the death of
the Decedent, a cause of action has accrued in accordance with the Annotated Code of Maryland
Courts and Judicial Proceedings, §3-901 et seq to the Plaintiff, Richard G. Gestewitz, III, as a
surviving child of the Decedent, for compensation to him for all of the damages, injuries, and
losses past, present, and future which he has sustained, is sustaining, and will in the future
sustain, all of which were proximately caused by the negligence and carelessness of the
Defendant without any negligence on the part of the Plaintiff or the Decedent thereunto
contributing.

WHEREFORE, the Plaintiff, Richard G. Gestewitz, III, as a surviving child of Richard

 
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G. Gestewitz, Jr., deceased, claims damages in an amount exceeding $75,000.00 against the
Defendant, Kimberly Ann Morgan, to be determined by a jury, with all interest and costs to be
paid by the Defendant.
COUNT IV
(Richard G. Gestewitz, Sr. - Wrongful Death)

19. The Plaintiff, Richard G. Gestewitz, Sr., incorporates paragraphs 1 through 10 of
the Complaint as if they were fully set forth at length herein.

20. That at the time of the death of the Decedent, Richard G. Gestewitz, Jr., the
Plaintiff, Richard G. Gestewitz, Sr., was the father of the Decedent.

21.  Asaresult of the negligence of the Defendant, Kimberly Ann Morgan, and the
wrongful death of Richard G. Gestewitz, Jr., the Plaintiff, Richard G. Gestewitz, Sr., as the
surviving father of Richard G. Gestewitz, Jr., has suffered severe mental anguish and emotional
pain, pecuniary loss, and has lost and been deprived of the society, companionship, comfort,
care, attention, advice, counsel, services and support which the Decedent could have and would
have afforded and rendered had he continued to live.

22. By reasons of the negligence of the Defendant, Kimberly Ann Morgan, which
culminated in the death of the Decedent, a cause of action has accrued in accordance with the
Annotated Code of Maryland Courts and Judicial Proceedings, §3-901 et seq to the Plaintiff,
Richard G. Gestewitz, Sr., the father of the Decedent, for the compensation to him for all the
damages, injuries and losses, past, present and future which he has sustained and will in future
sustain, all of which are approximately caused by the negligence of the Defendant, Kimberly
Ann Morgan, without any negligence on part of the Plaintiff or the Decedent thereunto

contributing.

 
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WHEREFORE, the Plaintiff, Richard G. Gestewitz, Sr., as a surviving father of Richard
G. Gestewitz, Jr., deceased, claims damages in an amount exceeding $75,000.00 against the
Defendant, Kimberly Ann Morgan, to be determined by a jury, with all interest and costs to be
paid by the Defendant.
COUNT V

(Breach of Contract - Underinsured Motorist Coverage)

23. Plaintiffs incorporate the allegations contained in Paragraphs 1-22 of the
Complaint as if set forth fully herein.

24. The subject accident was caused by the negligence of Kimberly Ann Morgan, the
driver of the vehicle that collided with Decedent’s vehicle. Kimberly Ann Morgan was insured
by State Auto Insurance Companies (“State Auto”) and maintained insufficient liability coverage
applicable to the subject accident, given the nature and severity of Decedent, Richard G.
Gestewitz, Jr.’s fatal injuries.

25.  Atthe time of the accident and at all relevant times, Decedent maintained
uninsured/underinsured motorist coverage with Defendant, United Services Automobile
Association (““USAA”) in an amount of $100,000.00.

26. This Court has jurisdiction over this dispute and venue is proper in Cecil
County.

27. The negligence of Kimberly Ann Morgan caused Decedent, Richard G.
Gestewitz, Jr., to suffer pre-impact fright, was trapped in his vehicle, and suffered serious and
fatal injuries and severe pain and suffering.

28.  Allof the losses and death sustained by Decedent were cause by Kimberly Ann

Morgan’s negligence without any negligence on the part of Decedent thereunto contributing.

 
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29. USAA had a valid policy in effect at the time of the subject accident
under which Decedent was a named insured, and pursuant to which USAA agreed to pay all
damages for bodily injuries sustained by Decedent due to the negligence of an
uninsured/underinsured driver such as Kimberly Ann Morgan.

30. Kimberly Ann Morgan was, in fact, uninsured/underinsured as her policy
provides coverage in an amount clearly insufficient to compensate Decedent’s Plaintiffs for all of
their damages stemming from the subject accident.

31. Plaintiffs have complied with all statutory prerequisites for maintaining this
action, including provision of timely notice to USAA.

32. Plaintiffs have been damaged and continue to suffer damages due to USAA’s
refusal to pay uninsured/underinsured motorist benefits as provided for in the policy to
compensate Plaintiffs’ Decedent and Plaintiffs for their injuries, death and losses caused in the
subject accident which exceed the liability policy limits of the tortfeasor.

WHEREFORE, the Plaintiffs, Catherine M. Storms, Richard G. Gestewitz, III, and
Richard G. Gestewitz, Sr., claim damages in an amount exceeding $75,000.00 against the

Defendant, United Services Automobile Association, to be determined by a jury, with all interest

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and costs to be paid by the Defendant.

 

 
